          CASE 0:24-cv-00001-ECT-TNL Doc. 1-2 Filed 01/02/24 Page 1 of 2


                                              EXHIBIT 2
                                               RESOLUTION

               By Osman, Payne, Wonsley, Ellison, Chavez, Chughtai, Koski, Chowdhury


Declaring Unsheltered Homelessness as a Public Health Emergency

Whereas, the City of Minneapolis’ mission states that “Our City government takes strategic action to
address climate change, dismantle institutional injustice and close disparities in health, housing, public
safety and economic opportunities. In partnership with residents, City leaders help to ensure all
communities thrive in a safe and healthy city”; and

Whereas, unsheltered residents in the City of Minneapolis experience adverse health impacts,
systemically struggle to secure stable housing, food access, and health services, and experience
conditions that jeopardize their safety and wellbeing; and

Whereas, unsheltered residents are disproportionately Black, Indigenous, LGBTQ+, and youth; and

Whereas, Hennepin County conducts a Point in Time count each year to identify the number of
unhoused individuals in the county, including those living in shelters, on the street, or in other outdoor
locations. As of January 2023, 2,843 people were living in shelters or transitional housing programs, and
469 people were experiencing unsheltered homelessness; and

Whereas, in November 2021, Hennepin County published the Disparity Reduction: Vision and Priorities
report, which found that 58% of people experiencing homelessness are Black and 11% are Indigenous.
Less than 15% of the County’s population is Black and less than 2% is Indigenous; and

Whereas, according to the Trevor Project, a nationally renowned suicide prevention and crisis
intervention nonprofit organization for LGBTQ+ young people, 28% of LGBTQ+ youth reported
experiencing homelessness or housing instability at some point in their lives; and

Whereas, the Trevor Project reported that nearly half (44%) of Indigenous LGBTQ+ youth have
experienced homelessness or housing instability at some point in their life. Homelessness and housing
instability were reported at higher rates among transgender and nonbinary youth; and

Whereas, the Minnesota Department of Health’s Minnesota Homeless Mortality Report, 2017-2021
found that the rate of death among people experiencing homelessness in Minnesota is 3 times higher
than the general population. Indigenous people experiencing homelessness have a mortality rate that is
1.5 times higher than people experiencing homelessness overall, and 5 times higher than the general
population in Minnesota; and

Whereas, the causes of death for people experiencing homelessness include: substance use (36.7%);
chronic diseases like heart disease, diabetes, kidney disease, cancer, and more (36.1%); external causes
like suicide, homicide, pedestrian injury, and more (15%); and infectious diseases (5.1%); and

Whereas, according to the U.S. Department of Housing and Urban Development’s Understanding
Encampments of People Experiencing Homelessness and Community Responses report, “researchers
generally agree that increases in homelessness are first and foremost the result of severe shortages of
affordable housing, combined with a lack of political will to dedicate sufficient resources to address this
problem. Encampments form in response to the absence of other, desirable options for shelter”; and
          CASE 0:24-cv-00001-ECT-TNL Doc. 1-2 Filed 01/02/24 Page 2 of 2



Whereas, the U.S. Department of Housing and Urban Development’s Understanding Encampments of
People Experiencing Homelessness and Community Responses report finds that “clearance with little or
no support may actually reduce the likelihood that people will seek shelter because it erodes trust and
creates an adversarial relationship between people experiencing homelessness and law enforcement or
outreach workers”; and

Whereas, the lack of running water and basic hygiene put residents living in encampments at a higher
risk of contracting preventable diseases, including Hepatitis A, typhus, tuberculosis, influenza,
pneumonia, diphtheria, and more; and

Whereas, Hepatitis A is a highly contagious liver infection which is considered very rare among the
general population because it is preventable by a vaccine. Hepatitis A primarily spreads through contact
with infected feces and the lack of temporary bathroom access puts those living in encampments at a
high risk of contracting this disease; and

Whereas, because the City of Minneapolis is not a direct service provider, it has faced continued
challenges in its efforts to partner to effectively reduce homelessness, humanely support unsheltered
residents, and prevent the formation of encampments in our city through its current regulatory policies
and practices, especially since the formation and closure of the Wall of Forgotten Natives in 2018 as well
as the start of the COVID-19 pandemic in 2020; and

Whereas, though the City of Minneapolis is not a direct service provider, its work continues to revolve
around connecting unsheltered residents to the services and resources provided by Hennepin County
and community partners; and

Whereas, the City of Minneapolis has demonstrated the need for a public health response through the
deployment of the Homelessness Response Team to encampments across Minneapolis to coordinate
with Hennepin County and other service providers in supporting unsheltered residents; and

Whereas, coordination and partnership with direct service providers is crucial to humanely support
unsheltered residents with dignity and respect to address urgent and potentially fatal public health
issues; and

Whereas, in order to assist in fulfilling the City of Minneapolis’s stated mission, the Minneapolis City
Council is committed to work in partnership with residents, governmental agencies, and community
partners to enable unsheltered residents to thrive in a safe and healthy city; and

Whereas, the Minneapolis City Council is committed to being an effective partner in reducing
homelessness, preventing the formation of encampments, and addressing urgent and potentially fatal
public health concerns in regard to unsheltered homelessness.

Now, Therefore, Be It Resolved by the City Council of the City of Minneapolis:

That unsheltered homelessness is a public health emergency.

Be it Further Resolved that the Minneapolis City Council, by declaring unsheltered homelessness a public
health emergency, is committed to exploring all policies, actions, partnerships, and investments to
urgently and meaningfully address this emergency alongside the Mayor of Minneapolis and City of
Minneapolis workers and leaders.
